UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------x
                                          Index No.: 1:21-CV-5788
Rahul Manchanda Esq.,
               Plaintiff-Appellant,
                                          NOTICE OF IMPLEADER
Douglas Senderoff MD,
               Defendant-Respondent,
Nicole Matties, Nicola Shapiro,
Matt O’Buck, Sharie O’Buck, Kate Bose,
Joe Hendrix, Andre De Castro, New York
SEO, Erika Brown, TekHattan, Justin Mercer,
Lewis & Lin LLC, Minc Law Firm LLC, New
York Supreme Court Judge Barbara Jaffe,
New York Supreme Court Judge Lucy Billings,
New York Supreme Court Judge Richard Latin,
Southern District Judge Paul Gardephe,
John Does 1-10.
               Defendants.
----------------------------------x
PLEASE TAKE NOTICE that pursuant to Rule 14 of the Federal Rules of
Civil Procedure relating to Third Party Practice, Plaintiff-Appellant
hereby impleads into this lawsuit the following and above referenced
Defendants Nicole Matties, Nicola Shapiro, Matt O’Buck, Sharie O’Buck,
Kate Bose, Joe Hendrix, Andre De Castro, New York SEO, Erika Brown,
TekHattan, Justin Mercer, Lewis & Lin LLC, Minc Law Firm LLC, New York
Supreme Court Judge Barbara Jaffe, New York Supreme Court Judge Lucy
Billings, New York Supreme Court Judge Richard Latin, Southern District
Judge Paul Gardephe, and John Does 1-10.


Dated:    New York, NY
          July 7, 2021
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